 Case 2:23-cv-02687-SVW-JC     Document 79 Filed 11/19/24      Page 1 of 2 Page ID
                                     #:1203


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     Attorney for Defendants Mitchell Clout
6    And Koil Content Creation Pty Ltd.
7
                           UNITED STATES DISTRICT COURT
8
                          CENTRAL DISTRICT OF CALIFORNIA
9
                                         )
10   THAT ONE VIDEO                      ) Case No. 2:23-CV-02687 SVW
     ENTERTAINMENT, LLC, a California ) (JCx)
11   limited liability company,          )
                                         ) [Corrected] [Proposed] ORDER
12                           Plaintiff,  ) GRANTING DEFENDANTS’
                                         ) MOTION FOR ATTORNEYS’
13          v.                           ) FEES, COSTS
                                         )
14   KOIL CONTENT CREATION PTY           )
     LTD., an Australian proprietary     ) DATE: December 9, 2024
15   limited company doing business as   ) TIME: 1:30 p.m.
     NOPIXEL; MITCHELL CLOUT, an         ) COURTROOM 10A
16   individual; and DOES 1-25,          )
     inclusive,                          ) Action Filed: April 10, 2023
17                           Defendants. ) Trial Date: Not Set
                                         )
18                                       )
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22                                       )
23       The motion of Defendants’ Koil Content Creation Pty. Ltd. and Mitchell Clout
24   for attorneys’ fees came on regularly for hearing before this Court on December 9,
25   2024. Larry Zerner appeared as attorney for Defendants’ Koil Content Creation Pty
26   Ltd and Mitchell Clout, and John Begakis appeared as attorney for Plaintiff That One
27   Video Entertainment, LLC.
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                                              -1–

                                                                             [Proposed] Order
 Case 2:23-cv-02687-SVW-JC       Document 79 Filed 11/19/24   Page 2 of 2 Page ID
                                       #:1204


1         After considering the moving and opposition papers, arguments of counsel and
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     all other matters presented to the Court, IT IS HEREBY ORDERED THAT the
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     motion is GRANTED. Defendants Koil Content Creation PTY LTD, and Mitchell
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     Clout are awarded attorney’s fees in the amount of $________. Defendants Koil
5
     Content Creation PTY LTD, and Mitchell Clout are further awarded costs in the
6
     amount of $________.
7
     It is further ordered as follows:
8
     ____________________________________________________________________
9
     ____________________________________________________________________
10
     ___________________________________________________________________.
11

12
     DATED: _____________                              ___________________
13                                                     Hon. Stephen V. Wilson
                                                       United States District Judge
14

15
     PRESENTED BY:
16
     Date: November 19, 2024
17

18   By: /s/Larry Zerner
19        Larry Zerner
          Attorney for Defendants Koil Content
20
          Creation Pty. Ltd. And Mitchell Clout
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                                                      -2 –                  [Proposed] Order
